                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

JOHN RUFFINO and MARTHA )
RUFFINO, Husband and Wife,    )
                              )
      Plaintiffs,             )
                              )                                 CASE No. 3:17-cv-00725
v.                            )                                 Judge Campbell
                              )                                 Magistrate Judge Newbern
DR. CLARK ARCHER and HCA      )
HEALTH SERVICES OF TENNESSEE, )                                 JURY DEMANDED
INC. d/b/a STONECREST MEDICAL )
CENTER                        )
                              )
      Defendants.             )
                              )

         DR. ARCHER’S MOTION IN LIMINE NO. 2 TO EXCLUDE TESTIMONY
                 FROM PLAINTIFF’S EXPERT, DR. RAJAT DHAR


         COMES NOW Defendant, Dr. Clark Archer (hereinafter "Dr. Archer") and respectfully

moves the Court in limine to enter an Order excluding any testimony from Plaintiffs’ expert,

Rajat Dhar, M.D., (“Dr. Dhar”) on the grounds that he is not competent to opine as to certain

specific issues and that his opinions on causation and other issues in this case are so unreliable as

to require the Court strike his prior testimony and exclude any testimony at trial.

         I.      Dr. Dhar is not competent to offer opinions concerning the standard of care
                 applicable to an emergency room physician.

         Dr. Dhar, a neurologist who has not practiced as an emergency room physician (“ER

physician”) in the past year in a contiguous state to Tennessee, 1 in the emergency room, or as a

consultant for an ER physician in the past calendar year in a contiguous states, does not meet the

locality rule in Tenn. Code Ann. § 29-26-115(b), and therefore, he is not competent to offer an


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       See Deposition Transcript of Rajat Dhar, M.D. (“Dr. Dhar Depo.”), at 39:18 – 40:5. A complete copy of this
transcript will be filed pursuant to a separate Notice of Filing.



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opinion about the standard of care applicable to Dr. Archer, an emergency room physician. In

federal diversity actions, state law generally governs substantive issues, while federal law is to

govern procedural issues. Legg v. Chopra, 286 F.3d 286, 289 (6th Cir. 2002). Accordingly, the

Federal Rules of Evidence, as procedural rules, govern the admissibility of testimony, including

competence of the witness. Legg, 286 F.3d at 289-90. Yet, in civil actions, the Federal Rules of

Evidence accommodate state laws regarding witness competency through Rule 601, which

states, in relevant part, “in a civil case, state law governs the witness's competency regarding a

claim or defense for which state law supplies the rule of decision.” Legg, 286 F.3d at 290;

F.R.E. 601. Undergirding Rule 601 is the recognition that [s]tate witness competency rules are

often intimately intertwined with a state substantive rule,” which is particularly true in a health

care liability action because absent applicable medical expert testimony regarding the standard of

care, a plaintiff’s claim will fail. Legg, 286 F.3d at 290. Therefore, through application of Rule

601 of the Federal Rules of Evidence, Tennessee’s witness competency rules govern the

admissibility of medical expert testimony in a health care liability action.

       As to a medical expert's competence, in relevant part, Tenn. Code Ann. § 29-26-115

provides:

               (a) In a health care liability action, the claimant shall have the
               burden of proving by evidence as provided by subsection (b):

               (1) The recognized standard of acceptable professional practice in
               the profession and the specialty thereof, if any, that the defendant
               practices in the community in which the defendant practices or in a
               similar community at the time the alleged injury or wrongful action
               occurred;

               (2) That the defendant acted with less than or failed to act with
               ordinary and reasonable care in accordance with such standard;
               and




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              (3) As a proximate result of the defendant's negligent act or
              omission, the plaintiff suffered injuries which would not otherwise
              have occurred.

              (b) No person in a health care profession requiring licensure under
              the laws of this state shall be competent to testify in any court of
              law to establish the facts required to be established by subsection
              (a), unless the person was licensed to practice in the state or a
              contiguous bordering state a profession or specialty which would
              make the person's expert testimony relevant to the issues in the
              case and had practiced this profession or specialty in one (1) of
              these states during the year preceding the date that the alleged
              injury or wrongful act occurred.

       The Tennessee Supreme Court has held that subsection (b) determines competence of the

witness, whereas subsection (a) establishes the elements that must be proven and contains

Tennessee’s locality rule. Shipley v. Williams, 350 S.W.3d 527, 550 (Tenn. 2011).        The

Tennessee Supreme Court has also offered guidance on the elements necessary to establish an

expert witness' competence. As to subsection (b), the Tennessee Supreme Court held:

              The witness must be (1) “licensed to practice in the state or a
              contiguous bordering state,” (2) “a profession or specialty which
              would make the person's expert testimony relevant to the issues in
              the case,” and (3) must have “had practiced this profession or
              specialty in one . . . of these states during the year preceding the
              date that the alleged injury or wrongful act occurred.” Therefore,
              the only grounds for disqualifying a medical expert as incompetent
              to testify are (1) that the witness was not licensed to practice in
              Tennessee, Georgia, Alabama, Mississippi, Arkansas, Missouri,
              Kentucky, North Carolina, or Virginia; (2) that the witness was not
              licensed to practice a profession or specialty that would make the
              person's expert testimony relevant to the issues in the case; or (3)
              that the witness did not practice this profession in one of these
              states during the year preceding the date of the alleged injury or
              wrongful act.

Shipley, 350 S.W.3d at 550. “A court's inquiry into the competency of a proffered witness

requires an examination of the issues presented in the case to determine whether the expert's




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profession or specialty makes the expert's testimony relevant to those issues.” Mitchell v.

Jackson Clinic, P.A., 420 S.W.3d 1, 8 (Tenn. Ct. App. 2013).

          More specifically, the Mitchell v. Jackson Clinic 2 case was concerned with whether the

ER physician proffered by the plaintiff was competent to offer testimony about the standard of

care applicable to two (2) pediatricians as it concerned “providing care to neonates with jaundice

and hyperbilirubinemia.” 420 S.W.3d at 8. The proffered ER physician provided an affidavit

that indicated he had completed a pediatric residency from 1990 – 1994 in Tennessee, was board

certified in internal medicine, that he practiced in the specialties of pediatric, toxicology, and

emergency medicine, and that he was familiar with the recognized standard of acceptable

professional practice of medical doctors practicing in a specialty that treats newborns with

jaundice, Family Practice, and Pediatrics. Id. at 8-9. However, the Court noted, among other

things, that the proffered expert’s CV failed to indicate any professional experience in the field

of pediatrics, that the proffered expert testified to failing the pediatric board exam three (3)

times, and that he did not see any patients in a pediatric practice setting since his pediatric

residency (more specifically, that he did not see newborns in the hospital in the same practice

setting as the defendants), and that he was not part of the department of pediatrics of any

hospital. Id. at 8-11. The Mitchell court found that although the ER physician has some prior

experience in pediatrics (during his residency) and had seen numerous cases of jaundice, this

exposure to pediatrics was not sufficient because he had not practiced in pediatrics in the year

proceeding the alleged negligent acts, and thus, he was not competent to offer an opinion as to

the standard of care. Id. at 11 (“[T]he purported expert must . . . have practiced in an area that

would allow him or her to testify expertly concerning the specific issues raised in the lawsuit. . .



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        Mitchell v. Jackson Clinic, P.A., 420 S.W.3d 1, 8 (Tenn. Ct. App. 2013).

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. there is simply no evidence to support a finding that [proffered expert] has current or recent

expertise in the field . . . or the standard of care under the American Academy of Pediatrics’

Guidelines for jaundice such that his testimony would aid the trier of fact in a determination of

whether [defendant doctors] deviated from the applicable standard of care.”).

        In the present case, Dr. Dhar, as a neurologist in the neuro intensive care unit (“neuro

ICU”) is not competent to opine as to the specific issue of the standard of care applicable an

emergency room (“ER”) physician such as Dr. Archer.             More specifically, Dr. Dhar, as a

neurologist, is not licensed to practice a profession or specialty that would make his testimony

relevant to the issue of the standard of care applicable to an emergency room physician, and even

if this Court finds that neurologists in general could offer testimony relevant to the issue of the

standard of care applicable to an emergency room physician, Dr. Dhar has not practiced the

portions of his specialty relevant to that issue during the year proceeding the alleged injury.

        During Dr. Dhar’s testimony, he conceded that “background, training, and experience of

a neurologist is different from the background, training, and experience of an ER physician,” 3

that he is not board certified in emergency medicine, 4 that he has not completed a residency in

emergency medicine, 5 and that he has not worked a shift as an ER physician since residency in

2005. 6 As such, Dr. Dhar lacks the competency to opine as to the issues of the standard of care

applicable to ER physician. Much like the ER physician in Mitchell, Dr. Dhar lacks board

certification in the specialty he is offering an opinion on the standard of care for, and he has not

worked in the emergency room since 2005, at which point he practiced as a resident in Canada.

See Mitchell, 420 S.W.3d at 8-11. Although a neurologist may be competent to offer opinions

    3
      Dr. Dhar Depo., at 206:17 - 21.
    4
      Id. at 206:22 – 24.
    5
      Id. at 206:25 – 207:2
    6
      Id. at 207:3 – 19

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relevant to other issues in this case, 7 a neurologist must still have practiced the subspecialties of

neurology that would be relevant to the specific issue of the standard of care applicable to an ER

physician in order to be competent to offer an opinion as to that issue. As pointed out in Dr.

Dhar’s deposition, the neurology department where he practices in Missouri is comprised of

“stroke neurologists” and “critical care neurologist,” and Dr. Dhar practices in the latter group. 8

More importantly, Dr. Dhar testified that he has not served on the “stroke call schedule,” which

is a schedule that provides for neurologist to be available for the ER physicians to call for an

official consultation, in over ten (10) years. 9 Specifically, when questioned again, Dr. Dhar

testified:

                 [Defense Counsel] Q. And I believe I heard you testify earlier that
                 you had at some point spent some time as an on-call neurologist
                 for the ER here at Barnes. Is that right?

                 [Dr. Dhar] A. I mean, I -- not for many years. I mean, when I
                 came, I did some consultations in neurology and was on the call
                 schedule, but that was minimal.

                 Q. And I believe you said that was in excess of 10 years ago?

                 A. Yeah, probably around 10 years.

                 Q. So you believe it's been about 10 years since you've even
                 provided any consult services in an ER; correct?

                 A. I've not been on the official consult schedule, but we do go to
                 the ER for patients coming to the ICU fairly frequently, but not in
                 the official consult role that was asked. 10

Although Dr. Dhar purports to train ER physicians, he has only trained residents who have not

taken their emergency medicine board exams, 11and their training is limited to transitions from


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        As briefed in depth in the next section, Dr. Dhar’s opinions as to causation do not pass the reliability
requirements of Fed. R. Civ. P. 702 and Daubert and are more appropriately excluded on that basis.
     8
       Dr. Dhar Depo. 30:22 – 31:17.
     9
       Dr. Dhar Depo., at 41:23 – 25.
     10
        Dr. Dhar Depo., at 207:10 – 208:1.

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the ER to the neuro ICU (a circumstance which has no bearing on any issues in the present case),

and none of Dr. Dhar’s interactions with residents can impart to him what the standard of care is

or is not in the ER for a board certified ER physician. Dr. Dhar’s testimony has established that

he practices a different specialty than Dr. Archer and that Dr. Dhar has not performed any duties

of his specialty (neurology) that would intersect with the practice of emergency medicine for

over (10) ten years. Thus, Dr. Dhar has not “practiced the relevant ‘profession or specialty in . . .

the year preceding the date of the alleged injury or wrongful act”’ because he has not practiced

any aspect of neurology in the calendar year proceeding February 17, 2016, that would assist the

trier of fact in understanding the standard of care for an ER physician. See Mitchell, 420 S.W.3d

at 11 (quoting Shipley, 350 S.W.3d at 550).

          For these reasons, Dr. Archer respectfully asks that this Court enter an Order striking all

of Dr. Dhar’s testimony concerning the standard of care applicable to an ER physician and

excluding the same from the trial of this matter.

          II.     Dr. Dhar’s testimony is unreliable and must be excluded pursuant to Rule
                  702 of the Federal Rules of Evidence and Daubert.

          In addition to Dr. Dhar’s lack of competence to testify regarding the standard of care

applicable to an ER physician, Dr. Dhar is not qualified pursuant to Rule 702 of the Federal

Rules of Evidence and Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579 (1993) to testify: (1)

about the causation prong of Tenn. Code Ann. § 29-26-115(a), (2) in accordance with

Tennessee’s locality rule, and in the alternative, to the extent not excluded on competency

grounds, (3) the standard of care applicable to an emergency room physician. Therefore, his

testimony is too unreliable to permit it to be placed before the jury.




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         Dr. Dhar Depo., at 207:20 - 208:12

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       With respect to expert testimony, pursuant to Rule 702 of the Federal Rules of Evidence,

federal courts are to serve a gatekeeping function in which they ensure that any ensure that “any

and all scientific testimony . . . is not only relevant, but reliable.”          Kumho Tire Co. v.

Carmichael, 526 U.S. 137, 147 (1999) (quoting Daubert, 509 U.S. at 589). The requirement that

the expert’s testimony be reliable is to safeguard against the wide testimonial latitude expert

witnesses enjoy in comparison to other witnesses. See Kumho Tire Co., 526 U.S. at 148.

       Further, the Sixth Circuit has explained that a Daubert challenge to a medical expert in a

health care liability action is separate from the inquiry on whether the medical expert is

competent, and that this inquiry must follow a determination of an expert’s competence. Legg,

286 F.3d at 291. As opposed to competency, a Daubert challenge (Rule 702) is a challenge to

the expert’s qualification since it is “directed at the science and methodology behind the

witness's testimony,” and insuring that “expert testimony is based on credible and reliable

science” – i.e., “the expert can reach the conclusion stated through proper scientific

methodology.” Legg, 286 F.3d at 291 (citations omitted). Daubert and its progeny Kumho Tire

Co., have distilled the relevant non-exclusive factors for a court to consider when determining

whether an expert is qualified to give testimony that will help the trier of fact as:

                [1] Whether a theory or technique . . . can be (and has been)
               tested;
               [2] Whether it has been subjected to peer review and publication;
               [3] Whether, in respect to a particular technique, there is a high
               known or potential rate of error and whether there are standards
               controlling the technique's operation; and
               [4] Whether the theory or technique enjoys general acceptance
               within a relevant scientific community.

Kumho Tire Co., 526 U.S. at 149-50 (citing Daubert, 509 U.S. at 592-94) (internal quotations

omitted). In response to Daubert and Kumho Tire Co., Rule 702 of the Federal Rules of

Evidence was amended in 2000 to incorporate the principles espoused in those cases. Fed. R.

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Evid. 702 advisory committee’s note. The amended Rule 702 of the Federal Rules of Evidence

states in full:

                  A witness who is qualified as an expert by knowledge, skill,
                  experience, training, or education may testify in the form of an
                  opinion or otherwise if:
                  (a) the expert's scientific, technical, or other specialized knowledge
                  will help the trier of fact to understand the evidence or to
                  determine a fact in issue;
                  (b) the testimony is based on sufficient facts or data;
                  (c) the testimony is the product of reliable principles and methods;
                  and
                  (d) the expert has reliably applied the principles and methods to the
                  facts of the case.

The Sixth Circuit has summarized the rule to have three (3) requirements “[f]irst, the witness

must be qualified by ‘knowledge, skill, experience, training, or education.’ Second, the testimony

must be relevant, meaning that it ‘will assist the trier of fact to understand the evidence or to

determine a fact in issue.’ Third, the testimony must be reliable.” U.S. ex rel. Tennessee Valley

Auth. v. 1.72 Acres of Land In Tennessee, 821 F.3d 742, 749 (6th Cir. 2016). Additionally, the

advisory note to Rule 702 indicates other factors are relevant to the inquiry of qualification such

as:

                  (1) Whether experts are “proposing to testify about matters
                  growing naturally and directly out of research they have conducted
                  independent of the litigation, or whether they have developed their
                  opinions expressly for purposes of testifying.” Daubert v. Merrell
                  Dow Pharmaceuticals, Inc., 43 F.3d 1311, 1317 (9th Cir. 1995).

                  (2) Whether the expert has unjustifiably extrapolated from an
                  accepted premise to an unfounded conclusion. See General Elec.
                  Co. v. Joiner, 522 U.S. 136, 146 (1997) (noting that in some cases
                  a trial court “may conclude that there is simply too great an
                  analytical gap between the data and the opinion proffered”).

                  (3) Whether the expert has adequately accounted for obvious
                  alternative explanations. See Claar v. Burlington N.R.R., 29 F.3d
                  499 (9th Cir. 1994) (testimony excluded where the expert failed to
                  consider other obvious causes for the plaintiff's condition).

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              Compare Ambrosini v. Labarraque, 101 F.3d 129 (D.C. Cir. 1996)
              (the possibility of some uneliminated causes presents a question of
              weight, so long as the most obvious causes have been considered
              and reasonably ruled out by the expert).

              (4) Whether the expert “is being as careful as he would be in his
              regular professional work outside his paid litigation consulting.”
              Sheehan v. Daily Racing Form, Inc., 104 F.3d 940, 942 (7th Cir.
              1997). See Kumho Tire Co. v. Carmichael, 119 S.Ct. 1167, 1176
              (1999) (Daubert requires the trial court to assure itself that the
              expert “employs in the courtroom the same level of intellectual
              rigor that characterizes the practice of an expert in the relevant
              field”).

              (5) Whether the field of expertise claimed by the expert is known
              to reach reliable results for the type of opinion the expert would
              give. See Kumho Tire Co. v. Carmichael, 119 S.Ct. 1167, 1175
              (1999) (Daubert's general acceptance factor does not “help show
              that an expert's testimony is reliable where the discipline itself
              lacks reliability, as for example, do theories grounded in any so-
              called generally accepted principles of astrology or necromancy.”),
              Moore v. Ashland Chemical, Inc., 151 F.3d 269 (5th Cir. 1998) (en
              banc) (clinical doctor was properly precluded from testifying to the
              toxicological cause of the plaintiff's respiratory problem, where the
              opinion was not sufficiently grounded in scientific methodology);
              Sterling v. Velsicol Chem. Corp., 855 F.2d 1188 (6th Cir. 1988)
              (rejecting testimony based on “clinical ecology” as unfounded and
              unreliable).

Fed. R. Evid. 702 advisory committee note. Further, the admissibility of all expert testimony is

subject to Rule 104(a) of the Federal Rules of Evidence, and the proponent, in this case the

Plaintiffs, has the burden of establishing the pertinent admissibility requirements are met aby a

preponderance of the evidence. Fed. R. Evid. 702 advisory committee notes (citing Bourjaily v.

United States, 483 U.S. 171 (1987)). In the context of a Daubert challenge, the Sixth Circuit has

further explained that a physician may testify regarding matters within his or her own




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professional experience; however, “when the doctor strays from such professional knowledge,

his or her testimony becomes less reliable, and more likely to be excluded under Rule 702.” 12

         Returning to the instant case, all of Dr. Dhar’s opinions in this case lack the reliability

required by Rule 702 of the Federal Rules of Evidence to permit them to be placed before a jury.

Dr. Dhar’s testimony reveals that he has not vetted any of his opinions in this case with another

physician, 13 that he has not referred any published guidelines in creating his opinions, 14 that he

has not formed his opinions in this case based on any published articles, 15 and that he has not

looked at the 2015 American Heart Association/American Stroke Association focused updates of

the 2013 guidelines for the early management of patients with acute ischemic stroke regarding

endovascular treatment. 16 Therefore, his opinions do not appear to be consistent with peer

reviewed or published literature nor does it appear that Dr. Dhar has undertaken any efforts to

determine whether his opinions enjoy “general acceptance within a relevant scientific

community,” as he has not consulted others in the medical community or rexaminedpeer

reviewed literature to ensure his opinions are supported. Likewise, Dr. Dhar has not performed

any research pertinent to the opinions he has formed in this case. 17 Therefore, he cannot claim

that his opinions or theories can be or have been tested.                    Rather, his opinions have been

developed expressly for purposes of testifying as they do not grow out of his research that was

conducted independently of this case. Simply put, Dr. Dhar’s opinions are unsupported by

anything that would indicate they are reliable and appear to be conjured out of thin air, and

therefore, the Court should exclude his testimony.

    12
       Gass v. Marriott Hotel Servs., Inc., 558 F.3d 419, 428 (6th Cir. 2009) (citations omitted).
    13
       Dr. Dhar’s Depo., at 34:5-9.
    14
       Id. at 34:13 – 15.
    15
       Id. at 34:10 - 18; see also Id. at 58:25 – 60:6
    16
       Id. at 35:25 – 36:22.
    17
       Id. at 23:14 - 24:9

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           A.       Dr. Dhar is not qualified to opine regarding the causation prong of Tenn.
                    Code Ann. § 29-26-115(a) as it relates to the administration of tPA alone.

           More specifically, as Dr. Dhar’s opinions concern causation in this case, Dr. Dhar

disclosed in his Rule 26 report 18that:

                    [S]hould Mr. Ruffino have received TPA and/or endovascular
                    thrombectomy for his acute stroke, he would have, more likely
                    than not, experienced an improved neurological outcome and
                    recovery from this stroke. He had a clear vessel occlusion and was
                    within the time window at which both TPA and thrombectomy
                    have been shown to significantly improve outcomes after acute
                    stroke, as has been published in peer-reviewed literature in the
                    past few years. This type of treatment (within 4.5 hours of the
                    onset of this type of stroke for TPA and 6 hours for thrombectomy)
                    is effective because it provides reperfusion of blood flow to the
                    ischemic brain and minimizes that amount of brain tissue that dies.
                    This directly contributes to improved neurological recovery. 19

During Dr. Dhar’s deposition he articulated his causation opinion as to the intravenous

administration of tPA alone as follows:

                    [Defense counsel] Q. . . . Using that dosing [standard dosing
                    quantity], is it your opinion that that dose of tPA in this case would
                    have revascularized Mr. Ruffino's middle cerebral artery territory?

                    [Dr. Dhar] A. My opinion is that more likely than not, it would
                    have facilitated the revascularization, yes.

                    Q. Alone?· tPA alone?· That -- you're answering a question I didn't
                    ask. It's real simple here. The question is, would tPA alone in Mr.
                    Ruffino have revascularized his left middle cerebral artery? Yes or
                    no?

                    A. Well, nothing in medicine is yes or no so I can't answer that
                    question definitively because we don't know the answer. I can only
                    give my – the probabilities that more likely than not it would have.



     18
          Dr. Dhar testified that counsel assisted him with the drafting of his report. See Dr. Dhar Depo., at 43:22 –
46:19.
       19
          Dr. Rajat Dhar’s Rule 26 Report (Dr. Dhar’s Report”), at p. 3. ¶ 1 (emphasis added). A complete copy of
this transcript will be filed pursuant to a separate Notice of Filing.


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                Q. Okay. You agree with me that more likely than not then means
                that something has to be more than 50 percent probable; correct?

                A. Yes.

                Q. And are you telling -- are you testifying under oath that
                administration of tPA alone in this case would have more probably
                than not revascularized Mr. Ruffino's left middle cerebral artery
                distribution?

                A. To be specific, yes, I'm saying that it would have more likely
                than not improved the perfusion beyond the blockage.

                Q. That's not my question. Don't answer questions I haven't asked.
                The question focuses on revascularization.

                A. Could you clarify what you mean by revascularization?

                Q. Yes. Would it have lysed whatever blockage existed such that
                the flow, the perfusion of blood, would have revascularized the
                area served by his left MCA?

                A. Yes. 20

                                                ***

                Q. . . . . If at any time between 9:48 on the morning of February
                17th, 2016, and 2:00, is it the opinion of Dr. Dhar that tPA alone, if
                given intravenously, would have revascularized the patient's left
                MCA territory more probably than not?

                A. Yes. 21

         However, when Dr. Dhar was questioned about the methodology and science supporting

the above opinion, he was unable to cite to any studies in support of his opinion 22 despite his

report indicating that his opinions were supported by “peer-reviewed literature published in the

past few years.” 23 In fact, Dr. Dhar testified in the following manner:



    20
       Dr. Dhar’s Depo., at 53:5 – 54:15.
    21
       Id. at 56:3 – 9.
    22
       Id. at 56:18 – 57:16.
    23
       Dr. Dhar’s Report, p 2, ¶ 1.

                                                 13

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                Q. All right. I looked through your materials quickly as we began
                the deposition. I did not see any published guidelines included in
                the materials. Have you referred to any published guidelines as you
                formed your opinions in this case?

                A. Not for this case, no.

                Q. Have you formed your opinion in this case based on any
                published article?

                A. No. 24

The above exchange indicates that there is no scientific support for his opinions. His lack of a

reliable basis is not limited to the previous excerpt. He was later questioned about what specific

articles or guidelines that supported his opinion about the administration of tPA alone would

have revascularized the patient’s left MCA territory more probably than not, and he was unable

to do so. 25 Dr. Dhar was given seven (7) days to locate and provide the names of the articles, but

to date, he has not provided any. 26 Further, when confronted with the published, peer reviewed

medical literature, Dr. Dhar’s testimony was simply that his opinions are “about this case, not

what the studies showed.” 27 Dr. Dhar conceded that there were no published, peer reviewed

literature that supported his position. Specifically, he testified:

                Q. Isn't it correct that every published study that has compared tPA
                alone with embolectomy has confirmed that tPA alone dealing
                with large vessel occlusion leads to recanalization in less than 50
                percent of the patients? Isn't that true?

                A. Yes, but that doesn't apply to this case. 28

This exchange would indicate that Dr. Dhar has created an opinion solely for the purpose of

litigation. When pressed for further support for his position, which was that Mr. Ruffino suffered

    24
       Dr. Dhar’s Depo., at 34:10 - 18.
    25
       Id. at 57:3 – 12.
    26
       Id. at 57:13 – 16.
    27
       Id. at 60:1 – 6.
    28
       Id. at 60:9 – 15.

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from a distal occlusion at the end of the M1 or M2 blood vessel, 29 Dr. Dhar cited generally to

“scientific studies” that tPA’s efficacy on clots was greater with more distal occlusions and was

much smaller with more proximal and larger clots. 30 When confronted with publications that

stated that for individuals with an occlusion in the M1 or M2 arteries and who received

administration of tPA alone, eighty percent (80%) of those individuals did not get

recanalization, 31 Dr. Dhar again indicated he would furnish studies to support his position in

seven (7) days, but no studies have been provided to date. 32 Further, Dr. Dhar conceded in his

testimony that Mr. Ruffino had a large vessel occlusion, 33 which by his own testimony would

indicate that tPA was not as effective and was less than fifty percent (50%) effective at

recanalization or revascularization. Likewise, Dr. Dhar agreed that only about thirty 30% or

people will be revascularized or recanalized by tPA alone. 34

         When taken together, Dr. Dhar’s testimony that administration of intravenous tPA alone

would have caused Mr. Ruffino to have experienced a better neurologic outcome is simply

unsupported by the published, peer reviewed literature on the topic, which indicates that the

administration of tPA alone would not, to a reasonable degree of medical certainty (more likely

than not), have improved Mr. Ruffino’s neurologic outcome. Dr. Dhal failed to produce the

promised literature supposedly supporting his position. Additionally, Dr. Dhal failed to articulate

a reliable, scientific methodology employed in formulating this opinion. Indeed, the theory he

seeks to testify about does not enjoy widespread acceptance in the medical community, which is




    29
       Id. at 61:5 – 15; 68:18 – 69:6; 73:4 – 11.
    30
       Dr. Dhar’s Depo. at 66:1 – 4.
    31
       Id. at 62:23 – 63:8.
    32
       Id. at 63:9 – 13.
    33
       Id. at 66:1 – 4.
    34
       Id. at 86:20 - 25.

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evidenced as well by the lack of publications and the lack of vetting by other neurologists. 35 The

theory he seeks to opine about (i.e., that intravenous administration of tPA alone would have

resulted in an improved neurologic outcome through the recanalization or revascularization of

the occluded artery) has been tested, as documented in the peer reviewed, medical literature, and

the tests on the theory have revealed that recanalization or revascularization through the use of

tPA alone would not to a reasonable degree of medical certainty (i.e., greater than 50%) occur.

This is directly at odds with Dr. Dhar’s opinion and testimony in this case. In sum, Dr. Dhar’s

opinion about causation through the use of tPA alone in unreliable as it lacks a basis grounded in

science, and therefore, Dr. Dhar’s testimony regarding causation that the administration of tPA

alone would lead to an improved neurologic outcome in Mr. Ruffino must be excluded.

          B.     Dr. Dhar is not qualified to offer a causation opinion regarding the whether a
                 thrombectomy or embolectomy, 36 alone or in addition to the administration
                 of intravenous tPA, would have improved Mr. Ruffino’s neurologic outcome.

          Further, Dr. Dhar is unqualified to opine as to whether an endovascular thrombectomy,

alone or in conjunction with the administration of tPA, would have, to a reasonable degree of

medical certainty, improved Mr. Ruffino’s neurologic outcome.                     First, Dr. Dhar has not

performed an embolectomy. 37 Dr. Dhar is not and has not performed any research in the past

related to “endovascular instrumentation to break up, remove, or retrieve a clot or thrombus.”38

He has never held privileges to perform an endovascular embolectomy. 39 Therefore, Dr. Dhar

has not performed any research on this topic nor has he tested any of his theories. Dr. Dhar

cannot show that his theories enjoy any general acceptance in the neurologic community since he


     35
       Dr. Dhar’s Depo., at 34:5 – 9 (testifying that he has not vetted his opinions with any other physician.).
     36
        Thrombectomy and embolectomy are used interchangeably as Dr. Dhar indicated that “thrombus” and
“embolus” may be used interchangeably. See Dr. Dhar’s Depo., at 74:1 – 21.
    37
       Dr. Dhar’s Depo., at 24:10-20; 25:2 – 20.
    38
       Id. at 24:5-9.
    39
       Id. at 40:19 – 22.

                                                      16

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has not discussed his opinions with any other physicians and has not cited to any peer reviewed

publications that support his position. When Dr. Dhar was questioned about trials and peer,

review medical literature was unable to recall the details of the differences of all the trials. 40 His

opinions are therefore founded on untested theories and lack any real basis for reliability. 41

         Further indicating a lack of reliability on endovascular treatment, Dr. Dhar is unaware of

the minimum NIHSS (National Institute of Health Stroke Scale) score required at Centennial

Medical Center before a thrombectomy or embolectomy can be performed, 42 and even if he was,

it would be little use to him since he conceded he does not even know what the endovascular

protocol was at Washington Hospital, which is where he practices. 43 Absent a basis for

comparison, his opinions on whether a embolectomy or thrombectomy would have, to a

reasonable degree of medical certainty, caused an improved neurologic outcome in Mr. Ruffino

are unreliable and speculative.

         C      Dr. Dhar is not qualified to opine regarding the standard of care applicable
                to an emergency room physician.

         Similar to the argument on Dr. Dhar’s competence to testify to the standard of care

applicable to an emergency room physician, in the alternative, he is not qualified to offer this

opinion. For Dr. Dhar’s testimony on the standard of care to assist the jury, it must be reliable;

however, his testimony is not reliable because his testimony reveals his lack of familiarity with

the applicable standard. Dr. Dhar admitted that the “background, training, and experience of a

neurologist is different from the background, training, and experience of an ER physician,” 44 that




    40
       Id. at 189:16- 23.
    41
       See id. at 137:7 – 11.
    42
       Dr. Dhar’s Depo., at 92:2-10
    43
       Id. at 91:25 – 92:3.
    44
       Id. at 206:17 - 21.

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he is not board certified in emergency medicine, 45 that he has not completed a residency in

emergency medicine, 46 and that he has not worked a shift as an ER physician since residency in

2005. 47 He has not discussed his opinions with any ER physicians. 48 Further, Dr. Dhar’s

testimony was that he has not served on the “stroke call schedule” in over ten (10) years, which

means he has not performed an official ER consult in that time. 49 Thus, Dr. Dhar lacks a reliable

basis on which to opine about the standard of care applicable to an ER physician during the

interaction between a with an ER physician and neurologist for an official consult for stroke care

as he has not performed an official consult for an ER physician in over 10 years. Likewise, he

lacks a reliable basis to opine about standard of care applicable to an ER physician for ordering

emergent imaging for a suspected stroke in the ER since he has not ordered one as an ER

physician since his residency in 2005, which was in Canada. 50            Dr. Dhar simply has no

professional experience on which to draw that would permit him to testify about the standard of

care applicable to an ER physician. See Gass, 558 F.3d at 428 (“When, however, the doctor

strays from such professional knowledge, his or her testimony becomes less reliable, and more

likely to be excluded under Rule 702.”).

         Additionally, Dr. Dhar does not train ER physicians, and the residents he does train are

not board certified in emergency medicine and their training is limited to the interactions

between a ER physician and neurologist as it relates to transfer of a patient into the neuro ICU, 51




    45
       Id. at 206:22 – 24.
    46
       Id. at 206:25 – 207:2
    47
       Dr. Dhar’s Depo., at 207:3 – 19
    48
       Id. at 34:5- 9.
    49
       Id. at 41:23 – 25; 207:10 – 208:1.
    50
       Id. at 39:14 – 20; 207:3 – 19; 211:6 – 17.
    51
       Dr. Dhar Depo., at 207:20 - 208:12.

                                                      18

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a department StoneCrest does not have. 52 Therefore, Dr. Dhar lacks any measure of reliability to

be able to testify about the standard of care applicable to a specialty he does not practice or for a

specialty that his own neurology practice does not intersect. Therefore, Dr. Dhar’s testimony

about the standard of care applicable to an ER physician should be struck and excluded under

Rule 702 of the Federal Rules of Evidence.

                   1. Dr. Dhar has not disclosed an opinion about the standard of care
                      applicable to an ER physician in his Rule 26 Report and cannot be
                      allowed to testify about the applicable standard of care to an ER
                      physician or a deviation from it before the jury.

          Even if the Court were to find that Dr. Dhar’s testimony demonstrated the required

reliability to permit his to testify about the standard of care applicable to an ER physician, Dr.

Dhar’s Rule 26 Expert Report never disclosed such an opinion. Pursuant to Rule 26 of the

Federal Rule of Civil Procedure, a party is to provide an expert report for each of its experts that

contains “a complete statement of all opinions the witness will express and the basis and reasons

for them.” Parties also have a duty to supplement their expert disclosures pursuant to Rule 26(e),

and when they fail to do so, Rule 37(c) provides that “the party is not allowed to use that

information or witness to supply evidence. . . at a trial, unless the failure was substantially

justified or is harmless.” Fed. R. Civ. P. 26; 37. “[A] ‘report must be complete such that

opposing counsel is not forced to depose an expert in order to avoid an ambush at trial; and

moreover the report must be sufficiently complete so as to shorten or decrease the need for

expert depositions and thus to conserve resources.’” R.C. Olmstead, Inc., v. CU Interface, LLC,

606 F.3d 262, 271 (6th Cir. 2010) (quoting Salgado v. Gen. Motors Corp., 150 F.3d 735, 742 n.6

(7th Cir. 1998)). Additionally, compliance with Rule 26(a) is required and a failure to comply

with it mandates that district court punish a party for discovery violations in connection with


    52
         Id. at 26:12 – 14.

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Rule 26 absent harmless or substantially justified violations. U.S. ex rel. Tennessee Valley Auth.,

821 F.3d at 752; see also Fed. R. Civ. P. 37(c)(1); Local Rule 39.01(5)(C). 53 To determine

whether there is substantial justification for failing to supplement or provide the requisite

information, a court is to examine the following factors:

                (1) the surprise to the party against whom the evidence would be
                offered; (2) the ability of that party to cure the surprise; (3) the
                extent to which allowing the evidence would disrupt the trial; (4)
                the importance of the evidence; and (5) the nondisclosing party's
                explanation for its failure to disclose the evidence. 54

         As previously noted, Dr. Dhar’s Rule 26 Report did not include any opinion about the

standard of care applicable to an ER physician, nor did it include any opinion about a deviation

from the applicable standard of care. 55 Further, Dr. Dhar admitted that his report did not contain

any mention of the standard of care. Specifically, he testified:

                Q. Will you find any reference in the report you prepared -- well,
                let me take that back. Do you find any reference in the report you
                signed that says -- that uses the phrase "standard of care" or
                "acceptable standard of professional practice" -- either one of those
                phrases?

                A. I don't believe I see those words or terminology in this report,
                no.

                Q. Is there another report that I should be looking at?

                A. This is the only report I created in this case. 56

                                                     ***

    53
       See Local Rule 39.01
                 Expert witness disclosure statements may not be supplemented after the
                 applicable disclosure deadline, absent leave of Court. Expert witnesses may not
                 testify beyond the scope of their expert witness disclosure statement. The Court
                 may exclude the testimony of an expert witness, or order other sanctions
                 provided by law, for violation of expert witness disclosure requirements or
                 deadlines.
    54
       Howe v. City of Akron, 801 F.3d 718, 748 (6th Cir. 2015).
    55
       See Dr. Dhar’s Report.
    56
       Dr. Dhar’s Depo., at 43:10 – 21.

                                                       20

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                   Q. Are you telling me then in this case that you are not going to
                   express any opinions about whether any of the health care
                   providers complied or did not comply with accepted standards of
                   professional practice or the standard of care?

                   A. No, I believe I'm giving my opinions on that I may not have
                   used that terminology, I guess. I made my report more from the
                   medical perspective, and then if there was input in technology, I
                   guess that's the feedback that I got from Mr. Cummings and then
                   made sure that things were expressed in legal terms. I'm not still an
                   expert in how to express those things -- my medical opinions in a
                   legal way.

                   Q. Well, you've conceded that your report, which had been vetted
                   by Mr. Cummings and additions had been made by the 30th of
                   January, does not use the phrase "standard of care" or "standard of
                   acceptable professional practice" a single time; right?

                   A. I don't believe I used those words, no.

                   Q. But you're telling me today that you do intend to express some
                   opinions about standards of care regarding somebody; right?

                   A. Yes.

                   Q. Who?

                   A. Dr. Archer.

                   Q. Dr. Archer the ER physician?

                   A. That's correct. 57

                                                      ***

                   Q. So it's clear to me from your report that you're expressing an
                   opinion regarding the cause of John Ruffino's current deficits and
                   that they would have been improved -- in your opinion, more likely
                   than not -- would have been improved had tPA and/or an
                   endovascular process taken place?

                   A. Yes.



    57
         Id. at 48:19 – 49:20.

                                                    21

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                  Q. Correct?

                  A. Yes.

                  Q. But it seems to me in your deposition you're going beyond that
                  causation opinion and you're offering opinions regarding the
                  standard of care that applies to Dr. Archer, a board-certified ER
                  physician, in this case. Am I misunderstanding that?· Because I
                  don't see anywhere where it talks about standard of care in your
                  report.

                  A. Yeah, I guess I have a -- maybe don't have a full understanding
                  of the difference between not doing something -- I guess that's
                  causation versus standard of care. So there was things that
                  identified that were not done that led to that poor outcome.

                  Q. Right.

                  A. I maybe misunderstood that was a standard of care issue, but
                  maybe I misunderstood that.

                  Q. Right. So I thought maybe that was the case.

                  A. Right. 58

                                                 ***

                  Q. Are you offering any opinions regarding the standard of care or
                  the acceptable medical professional practice that applies to Dr.
                  Archer, a board-certified ER physician, or not?

                  A. So I guess the two that maybe weren't spelled out very clearly
                  in my report were to perform an emergent imaging study of an
                  acute stroke patient and to communicate the time of onset
                  information to Dr. Chitturi. Those would be the two aspects that I
                  felt were below the standard of care and led then later to that
                  poorer outcome as well, so I probably didn't state it clearly in that
                  way.

                  Q. Anything else that you believe violates the standard of care that
                  Dr. Archer did?

                  A. No, that's it. 59


    58
         Dr. Dhar Depo., at 209:21 – 210:23.
    59
         Dr. Dhar Depo., at 211:6 – 20.

                                                   22

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Dr. Dhar’s testimony clearly establishes that his report did not contain opinions on the standard

of care, much less what he perceived to be deviations from the standard of care for an ER

physician. Turning to the factors to determine whether the omission was substantially justified or

is harmless, first, the surprise occurred at Dr. Dhar’s deposition. It was recorded and may be

used against Dr. Archer in the upcoming trial. Second, this surprise cannot be cured at this point

in time. Dr. Dhar testified that Plaintiffs’ counsel assisted him with preparing and/or drafting his

Rule 26 Report. If he had any misunderstanding, there was ample time for Plaintiffs’ counsel to

correct his terminology. Third, permitting Dr. Dhar to testify about the standard of care will

require additional testimony time. Fourth, Plaintiffs have disclosed an board certified emergency

room physician to testify about the applicable standard of care for an ER physician so Dr. Dhar’s

testimony on this topic is not vital to Plaintiffs’ case and would be cumulative. As to the final

factor, although this is for Plaintiffs to explain, it should be noted that if Dr. Dhar did not

understand what he was asked to give an opinion about of the terminology to use, Plaintiffs’

counsel could have clarified the issue before submitting the Rule 26 report since there was

discussion between counsel and Dr. Dhar.

       Therefore, Plaintiffs violated Rule 26(a) and (e) with respect to Dr. Dhar’s report, and

pursuant to Rule 37(c)(1), Dr. Dhar’s testimony about the applicable standard of care for an ER

physician and any deviation from that standard should be struck and excluded.

       D.      Tennessee’s locality rule requires that Dr. Dhar’s testimony be struck and
               excluded.

       To challenge whether the medical expert's testimony is admissible pursuant to the

"locality rule," codified in subsection Tenn. Code Ann. 29-26-115(a)(1), a challenging party




                                                23

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move to exclude the testimony pursuant to Rules 702 and 703. See Legg, 286 F.3d at 291;

Shipley, 350 S.W.3d at 552-53. The Tennessee Supreme Court in Shipley held that:

              [A] medical expert must demonstrate a modicum of familiarity
              with the medical community in which the defendant practices or a
              similar community. Generally, an expert's testimony that he or she
              has reviewed and is familiar with pertinent statistical information
              such as community size, hospital size, the number and type of
              medical facilities in the community, and medical services or
              specialized practices available in the area; has discussed with other
              medical providers in the pertinent community or a neighboring one
              regarding the applicable standard of care relevant to the issues
              presented; or has visited the community or hospital where the
              defendant practices, will be sufficient to establish the expert's
              testimony as relevant and probative to “substantially assist the trier
              of fact to understand the evidence or to determine a fact in issue”
              under Tennessee Rule of Evidence 702 in a medical malpractice
              case and to demonstrate that the facts on which the proffered
              expert relies are trustworthy pursuant to Tennessee Rule of
              Evidence 703.

                                              ***

              A proffered expert may educate himself or herself on the
              characteristics of a medical community in order to provide
              competent testimony in a variety of ways, including but not limited
              to reading reference materials on pertinent statistical information
              such as community and/or hospital size and the number and type of
              medical facilities in the area, conversing with other medical
              providers in the pertinent community or a neighboring or similar
              one, visiting the community or hospital where the defendant
              practices, or other means[.]

Shipley, 350 S.W.3d at 552-53.

       As at least one federal district court has explained, Shipley created two (2) approaches by

which the medical expert may demonstrate that they meet Tennessee’s locality rule: (1)

demonstrating familiarity with the medical community itself (the “familiarity approach”) or (2)

demonstrating familiarity with a medical community and that this medical community is similar

to the one connected to the case (the “similarity approach”). McDaniel v. UT Med. Grp., Inc.,



                                               24

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No. 16-CV-2895-TMP, 2018 WL 795506, at *4 (W.D. Tenn. Feb. 8, 2018). 60                              Under the

similarity approach, courts may “assess the experts' knowledge of ‘pertinent statistical

information such as community size, hospital size, the number and type of medical facilities in

the community, and medical services or specialized practices available in the area.’” McDaniel,

2018 WL 795506, at * 5 (quoting Shipley, 350 S.W.3d at 554). This information serves a

substitute by which the expert can link the standard of care in community A, which he or she

knows, to the standard of care in community B, which the expert may not know, through the use

of similar demographics and statistics. Id. Under the familiarity approach, conversations with

local providers about the applicable standard of care and visiting the defendant’s medical

community are permissible to establish familiarity, whereas statistical information is not. Id.

         In the present case, Dr. Dhar did not testify to having visited StoneCrest, Smyrna,

Tennessee, or Nashville, Tennessee, 61 nor has he discussed his opinions with any other

physicians from those communities or places. 62 Dr. Dhar incorrectly believes that StoneCrest is

located 20 miles to the Southwest of Nashville, Tennessee. 63                        StoneCrest is Southeast of

Nashville, Tennessee and located in Rutherford County. Therefore, Dr. Dhar cannot demonstrate

the familiarity approach to the locality rule.

         As to the similarity approach, Dr. Dhar does not know whether StoneCrest has a neuro

ICU, which is the specialty department in which he practices. 64 He does not know whether

StoneCrest has an orthopedic spine specialist on call or any other type of specialist than a




    60
       A copy is attached as Collective Exhibit 1 to MIL 2.
    61
       See generally Dr. Dhar Depo.
    62
       Id. at 34:5 – 9 (testifying that he did not discuss his opinions with any other physicans).
    63
       Id. at 27:3 – 11.
    64
       Id. at 26:12 – 14.

                                                          25

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neurologist on call. 65 Dr. Dhar testified that he did not need to know what other specialists

StoneCrest had available. 66 Dr. Dhar is aware that StoneCrest is a community hospital with

some specialists, which is not a tertiary level hospital, which is how Washington University or

Vanderbilt University would be classified. 67 Dr. Dhar has previously worked in hospitals smaller

that tertiary level hospitals when he was in Canada, but he never worked in a community

hospital, much less one in Missouri. 68 Further, Dr. Dhar is not even aware of the protocol for an

endovascular treatment in his own hospital, much less of one located in Smyrna, Rutherford

County, Tennessee. 69 He has offered no testimony on demographics of St. Louis, Missouri, or

Smyrna, Tennessee, or the types of medical facilities located in each. There has been no

testimony linking the two (2) medical communities together. Dr. Dhar does not have a reliable

basis to establish his familiarity for Smyrna, Rutherford County, Tennessee. He has offered no

testimony about the similarities between Washington University’s hospital where he practices

and StoneCrest, other than he was unaware of the number or types of specialties available at

StoneCrest. As Dr. Dhar’s testimony demonstrates, he is not familiar with the medical

community to which StoneCrest or Dr. Archer belong, which is Smyrna, Rutherford County,

Tennessee, under the familiarity approach, and plaintiffs have not carried their burden in

establishing that Dr. Dhar is sufficiently familiar with a community similar to Smyrna,,

Rutherford County, Tennessee, pursuant to the similarity approach because Dr. Dhar has not

practiced in a similarly situated hospital in a rural or community setting, he is unaware of the

specialties offered at StoneCrest, and he is not even fully aware of protocols at his own hospital.



    65
       Id. at 27:14 – 28:3.
    66
       Id. at 27:18 – 28:3.
    67
       Dr. Dhar Depo., at 26:17 – 27:2.
    68
       Id. at 33:14 – 17; 39:23 – 40:5.
    69
       Id. at 91:25 – 92:3.

                                                26

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Therefore, Dr. Dhar has not complied with the locality rule, and he cannot offer an opinion as to

the standard of care applicable to an emergency room physician in Smyrna, Tennessee. The

Court should accordingly strike his testimony and exclude his testimony at trial on this topic.

                    III.     Alternatively, Rule 403 of the Federal Rules of Evidence require that
                             this Court strike and exclude Dr. Dhar’s testimony.

            Should the Court find that Dr. Dhar is competent to testify and his testimony has a

reliable basis, Rule 403 of the Federal Rules of Evidence still requires the exclusion of his

testimony regarding the standard of care applicable to an ER physician in Tennessee. Rule 403

requires the exclusion of evidence “if its probative value is substantially outweighed by the

danger of unfair prejudice, confusion of the issues, or misleading the jury, or by considerations

of undue delay, waste of time, or needless presentation of cumulative evidence.” Tenn. R. Evid.

403.

            In the present case, any probative value to be gained from Dr. Dhar’s testimony regarding

the standard of care is substantially outweighed by the dangers of confusing the issues and/or

misleading the jury. As a neurologist, one who has not performed an official consult in the ER70

or worked in the ER in over a decade, 71 his testimony will be confusing to the jury and likely

mislead them as to what the standard of care permits an ER physician to do under the

circumstances of this case. Further, Dr. Dhar never disclosed in his report that he was offering

an opinion on the standard of care, 72 and therefore, Dr. Archer would be prejudiced by this

testimony at trial, and he was in fact already prejudiced at the time the deposition was taken as

there was nothing in the report to reflect that the testimony would cover those topics. 73



       70
          Dr. Dhar Depo., at 41:23 – 25; 207:10 – 208:1.
       71
          Id. at 207:3 – 19.
       72
          Id. at 210:4 - 22; 211:6 – 20; Dr. Dhar’s Report.
       73
          See Local Rule 39.01

                                                              27

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Therefore, should the Court find Dr. Dhar competent and qualified to testify on the standard of

care applicable to the board certified ER physician in Tennessee, Rule 403 still requires

exclusion of Dr. Dhar’s testimony on this point. Therefore, Dr. Archer respectfully asks the

Court for the entry of an Order striking and excluding Dr. Dhar’s testimony on the applicable

standard of care on these grounds.

                                        IV.      CONCLUSION

       For the foregoing reasons, Dr. Archer respectfully asks this Court to strike all of Dr.

Dhar’s testimony and exclude Dr. Dhar from testifying at trial.

               Respectfully submitted on this 14th day of December 2018.

                                                  HALL BOOTH SMITH, P.C.

                                         By:      /s/ Bryant C. Witt
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                                   CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been furnished
by electronic means via the Court’s electronic filing system, this 14th day of December 2018, to
counsel of record as follows:

Afsoon Hagh, Esq.
CUMMINGS MANOOKIAN PLC


               Expert witness disclosure statements may not be supplemented after the
               applicable disclosure deadline, absent leave of Court. Expert witnesses may not
               testify beyond the scope of their expert witness disclosure statement. The Court
               may exclude the testimony of an expert witness, or order other sanctions
               provided by law, for violation of expert witness disclosure requirements or
               deadlines.

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                                                  By:   /s/ Bryant C. Witt




                                             29

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